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 7

 8                            UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10    PHIL RAMOS, an individual,
                                                                    Case Number
11                                 Plaintiff,                 2:18-cv-01456-APG-PAL
             vs.
12
      THUNDERBIRD COLLECTION
13    SPECIALISTS, INC., an Arizona
      Corporation,
14                              Defendants.

15
         NOTICE OF SETTLEMENT BETWEEN PLAINITIFF AND DEFENDANT,
16                     THUNDERBIRD SPECIALISTS, INC.

17         Notice is hereby given that Plaintiff, Phil Ramos and Defendant, Thunderbird Collection

18 Specialists, Inc. (the “Parties”) have reached an agreement to settle the claims alleged in the

19 Complaint as to Thunderbird Collection Specialists, Inc.

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 1         The Parties anticipate completing settlement documents and filing a Stipulation of

 2 Dismissal with the Court within the next sixty (60) days.

 3         Dated this 18th day of October, 2018.

 4                                                 Respectfully Submitted.

 5                                                 COGBURN LAW OFFICES

 6                                                 By:       /s/ Erik W. Fox
                                                         Jamie S. Cogburn, Esq.
 7                                                       Nevada Bar No. 8409
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 1                                CERTIFICATE OF SERVICE

 2        I hereby certify that I electronically filed the foregoing NOTICE OF SETTLEMENT

 3 BETWEEN        PLAINITIFF       AND     DEFENDANT,         THUNDERBIRD          COLLECTION

 4 SPECIALISTS, INC. with the Clerk of the Court for the United States District Court by using

 5 the court’s CM/ECF system on the 18th day of October, 2018.

 6                I further certify that all participants in the case are registered CM/ECF users and

 7 that service will be accomplished by the CM/ECF system.

 8        DICKINSON WRIGHT PLLC
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 9
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13
                                                 /s/ Amy Quach
14                                              An employee of Cogburn Law Offices

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